 

i, ‘eo Case 3:20-cr-00256-N Document1 Filed 06/02/20 FR
| NORTHERN DISTRICT OF TEXAS
| FILED

 

ORIGINAL

IN THE UNITED STATES DISTRICT COURT JUN = 2 2020
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

 

RK, U.S. DISTRICT COURT

   
 

 

UNITED STATES OF AMERICA NO.

 

 

v.
BRANDON LEON KIMBERLING 8-200 R0256-B
INDICTMENT
The Grand Jury charges:
Count One

Possession of a Firearm by a Convicted Felon
(Violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2))

| On or about April 12, 2020, in the Dallas Division of the Northern District of
Texas, the defendant, Branden Leon Kimberling, knowing that he had been convicted
of a crime punishable by imprisonment for a term exceeding one year, that is, a felony
offense, did knowingly possess, in and affecting interstate and foreign commerce, a
firearm, to wit: (1) a R.G. Industries, Model RG31, .38 caliber revolver, bearing serial
number Q107870; (2) a CFT, Model M-11, 9 millimeter pistol, bearing serial number 94-
0022613; and (3) a Springfield Armory, Model XD-40, .40 caliber pistol, bearing serial
number XD510505.

In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

Indictment—Page 1
|

 

 
 

Case 3:20-cr-00256-N Document1 Filed 06/02/20 Page2of5 PagelD 2

Count Two
Possession with Intent to Distribute a Controlled Substance
(Violation of 21 U.S.C. § 841(a)(1))
On or about April 12, 2020, in the Dallas Division of the Northern District of
Texas, the defendant, Brandon Leon Kimberling, did knowingly and intentionally
possess with intent to distribute a mixture and substance containing a detectable amount

of methamphetamine, a controlled substance.

In violation of 21 U.S.C. § 841(a)(1), the penalty for which is found at 21 U.S.C.

§ 841(b)(1)(C).

Indictment—Page 2

 

 

 
 

 

 

Case 3:20-cr-00256-N Document1 Filed 06/02/20 Page3of5 PagelD 3

Forfeiture Notice
(18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c); 21 U.S.C. § 853(a))

Upon conviction for the offense alleged in Count One of this Indictment, and
pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the defendant, Brandon Leon
Kimberling, shall forfeit to the United States of America any firearm and ammunition
involved or used in the offense.

Upon conviction for the offense alleged in Count Two of this Indictment and
pursuant to 21 U.S.C. § 853(a), the defendant, Brandon Leon Kimberling, shall forfeit
to the United States of America all property, real or personal, constituting, or derived
from, the proceeds obtained, directly or indirectly, as the result of the offense and any
property, real or personal, used, or intended to be used, in any manner or part, to commit,
or to facilitate the commission of the offense.

This property includes, but is not limited to, the following:

(1) aR.G. Industries, Model RG31, .38 caliber revolver, bearing serial number
Q107870;

(2) aCFT, Model M-11, 9 millimeter pistol, bearing serial number XX-XXXXXXX;

(3) a Springfield Armory, Model XD-40, .40 caliber pistol, bearing serial number
XD510505{stolen];

(4) any ammunition recovered with the firearms; and

(5) any United States currency recovered.

Indictment—Page 3

 

 
 

 

 

Case 3:20-cr-00256-N Document1 Filed 06/02/20 Page4of5

ERIN NEALY COX
UNITED STATES ATTORNEY

 

 

omey
Texas Bar No. 00790002

1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699

Tel: 214-659-8617

Fax: 214-659-8805

Email: John.Boyle2@usdoj.gov

Indictment—Page 4

A TRUE BILL:

PagelD 4

 

FOREPERSON ~

 

 
 

 

Case 3:20-cr-00256-N Document1 Filed 06/02/20 Page5of5 PagelD5 .

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

V.

BRANDON LEON KIMBERLING

 

INDICTMENT

18 U.S.C. §§ 922(g)(1) and 924(a)(2)
Possession of a Firearm by a Convicted Felon
(Count 1)

21 U.S.C. § 841(a)(1)
Possession with Intent to Distribute a Controlled Substance
(Count 2)

18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c); 21 US.C. § 853(a)
Forfeiture Notice

2 Counts

 

 

A true bill rendered

 

DALLAS

Filed in open court this Z day of June, 2020.

 

Warrant to be Issued

 

 

 

UNITED STATES MAGISTRATE JUDGE
No Criminal Matter Pqnding

 
